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                 Exhibit J
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                                   UNITED STATES OF AMERICA
                                  FEDERAL TRADE COMMISSION
                                    WASHINGTON, D.C. 20580




    Jessica Moy
Bureau of Competition
Phone: (202) 460-9366
 Email: jmoy@ftc.gov
                                                                     March 8, 2023

By Electronic Mail

Kevin Huff
Kellogg, Hansen, Todd, Figel & Frederick, PLLC
1615 M Street NW, Suite 400
Washington, D.C. 20036

          RE:       Meta’s Interrogatory No. 2, FTC v. Meta Platforms, Inc., Civ. Action No.
                    1:20-cv-03590 (JEB) (D.D.C.)

Counsel:

        We write in response to your February 27, 2023 email regarding Meta’s Interrogatory No.
2 (“Interrogatory No. 2”), which asks that the FTC “Identify all Communications between You and
any other Person relating to the Prior Instagram Investigation, Prior WhatsApp Review, Pre-
Complaint Investigation, or any allegation in the Complaint or Amended Complaint.”

        The FTC supplemented its responses to Interrogatory No. 2 on May 27, 2022, by inter alia,
directing Meta to the FTC’s Supplemental Response to Interrogatory No. 1, which requests that
the FTC “Identify all Persons You communicated with relating to Your Prior Instagram
Investigation, Prior WhatsApp Review, Pre-Complaint Investigation, or any allegation in the
Complaint or Amended Complaint.” The parties subsequently reached a compromise to provide
Meta with a list of individuals that the FTC interviewed or requested to interview in response to
Meta’s Interrogatory No. 1, and the FTC did so on October 7, 2022. Now, five months later, Meta
again seeks to inappropriately re-expand the scope of Interrogatory No. 2 to include “factual
information it obtained from nonparties the FTC interviewed in its Instagram and WhatsApp
investigations.” See 2/27/23 Email from K. Huff to D. Matheson.

        Since as early as May 2022, the FTC has consistently made clear that Interrogatory No. 2
as propounded does not include or identify any specific factual information that Meta seeks
regarding nonparties that the FTC interviewed in its Instagram and WhatsApp investigations. The
FTC’s May 27, 2022 Supplemental Response to Interrogatory No. 2 clearly states: “In the parties’
meet and confer of May 6, 2022, and Meta’s correspondence of May 10, 2022, Meta asserted that
Interrogatory No. 2 seeks ‘the sum and substance of the factual information conveyed by non-
parties in each of your interviews in the Prior Instagram Investigation, Prior WhatsApp Review,
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and Pre-Complaint Investigation.’ 5/10/2022 K. Huff Ltr. at 7. Interrogatory No. 2 as
propounded, however, does not seek this information.” (emphasis added). The FTC has no record
of Meta serving an interrogatory seeking factual information from nonparties the FTC interviewed
in its Instagram and WhatsApp investigations. Should Meta serve an additional interrogatory
seeking this information, as previously identified for the Court, the FTC would object to such an
interrogatory as Meta has far exceeded the number of 30 total interrogatories allotted in this
litigation (including discrete subparts). See ECF No. 103 (Joint Scheduling Order), ¶ 11; see also
ECF No. 227 (Dec. 15 Joint Status Report), pp. 13-15 (detailing the way in which Meta has
exceeded its court-ordered limit on interrogatories, even by the most conservative assessment).

Briefing Proposal

         Meta’s belated February 27, 2023 request for the FTC to provide factual information
obtained from nonparties the FTC interviewed in its Instagram and WhatsApp investigations falls
flat for a number of reasons. First, it is not included in any interrogatory that Meta has served;
Meta has not identified anywhere the “factual information” it seeks. Second, Meta is out of
interrogatories to serve. Third, contents of FTC staff notes are exempt from discovery and
protected by a number of protections and privileges, including, inter alia, deliberative process and
work product protection. See ECF No. 189, pp. 8-11, 19 (denying Meta’s Motion to Compel);
ECF No. 103 (Joint Scheduling Order), ¶ 16; FTC’s Supplemental Response to Certain of Meta’s
First Set of Interrogatories (May 27, 2022) (also referencing the FTC’s April 29, 2022 First Set of
Interrogatories Objections). Finally, Meta has not identified what “factual information” it has
requested from third parties and why it needs it. We would highlight these plain deficiencies for
the Court should the parties engage in briefing on this issue.

        In the event Meta views the parties at impasse regarding Interrogatory No. 2 even in light
of the above, we agree with Meta that this is best resolved by briefing with the Court and propose
calling the Court tomorrow (this Thursday) to propose the following briefing schedule and process:

                       Meta Opening Brief (March 10): 10 pages
                       FTC Opposition Brief (March 22): 15 pages
                       Meta Reply Brief (March 27): 5 pages

        This proposal will promote more efficient briefing as the parties have already outlined their
positions related to privilege-related issues in motion to compel briefing for the Court in July 2022,
which the Court has already opined on. See ECF Nos. 188-189 (Order and Memorandum Opinion
Denying Meta’s Motion to Compel).

        In the event that the parties brief this issue, the FTC notes that it has previously told Meta
that the original negotiation of custodians was premised on the FTC’s (proper) interpretation of
Joint Scheduling Order ¶ 16. In the event that the Court determines that the discovery that Meta
seeks is not foreclosed by Joint Scheduling Order ¶ 16, the parties will need to revisit the
appropriate custodians for document review.
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                                                Sincerely,

                                                /s/ Jessica Moy
                                                Jessica Moy
                                                Counsel for Plaintiff Federal Trade
                                                Commission
